* Case 3:18-cr-00410-M Document 3 -

IN THE UNITED STATES DISTRICT COUR
FOR THE NORTHERN DISTRICT OF TEXA

Filed 08/09/18

- DALLAS DIVISION

UNITED STATES OF AMERICA ff
OR

ROBERT CARL LEONARD, JR.

FACTUAL RESUME

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NORTHERN DISTRICT OF TEXAS

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In support of Robert Carl Leonard, Jr.’s plea of guilty to the offense in Count One

of the Information, Leonard, the defendant, Christopher W. Lewis, the defendant’s

attorney, and the United States of America (the government) stipulate and agree to the

following:

ELEMENTS OF THE OFFENSE

To prove the offense alleged in Count One of the Information charging a violation

of 18 U.S.C. § 1349, that is, conspiracy to commit honest services wire fraud in violation

of 18 U.S.C. §§ 1343 and 1346, the government must prove each of the following

elements beyond a reasonable doubt:!

First: That the defendant and at least one other person made an agreement
to commit the crime. of conspiracy to commit honest services wire
fraud in violation of 18 U.S.C. §§ 1343 and 1346, as charged in the

Information;

Second: That.the defendant knew the unlawful purpose of the agreement; and

Third: That the defendant joined in the agreement willfully, that is, with the

! See United States v. Simpson, 741 F.3d 539, 547 (Sth Cir. 2014)

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intent to further the unlawful purpose.
The elements of honest services wire fraud are as follows:

First: That the defendant knowingly devised or intended to devise any
scheme to defraud, as set forth in the Information;

Second: That the scheme to defraud employed false material pretenses or
omissions;
Third: That the defendant transmitted or caused to be transmitted by way of

wire communications, in interstate commerce, any writing, sign,
signal, picture, or sound for the purpose of executing such scheme;
and .

Fourth: That the defendant acted with a specific intent to defraud.”

STIPULATED FACTS

1. The defendant agrees that the following facts are true and correct and that
his testimony at any trial would reflect the same.

2. . From in or-around 2011 to in or around 2017, in the Dallas Division of the
Northern District of Texas and elsewhere, the defendant, Leonard, Ricky Dale Sorrells,
Person C, Slater Swartwood, Sr., and others known and unknown, unlawfally, willfully,
. and knowingly did combine, conspire, confederate and agree together and with each other ©
to violate Title 18, United States Code, Sections 1343 and 1346.

3. Leonard, at all relevant times, knew the unlawful purpose of the agreement

and joined in it willfully, that is, with the intent to further the unlawful purpose.

' 2 Fifth Circuit Pattern Jury Instructions (2015), 2.57.

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4. Leonard was the owner and president of Force Multiplier Solutions (FXS),
a technology company that put cameras, including stop-arm cameras, on school buses. In
conjunction with legislation making passing a stop-arm camera a fineable offense, FXS’s
systems were sold to municipalities and other government entities as a revenue
generating source. FXS also profited from a percentage of the fine revenue.

5. Dallas County Schools (DCS) was a government agency that provided
busing services to the students of various Texas school districts, including Dallas
Independent School District.

6. Until March 201 6, Sorrells served as the superintendent of DCS. Asa
result of his position, Sorrells was a public servant. As superintendent, Sorrells had
authority to enter into contracts on DCS’s behalf that exceeded $50,000. He also had the
authority over purchasing, including the purchasing of bus-camera equipment from FXS.

7. During the conspiracy, Leonard paid Sorrells over $3 million in bribes and
kickbacks in exchange for Sorrells’s decision to enter into contracts and licensing
agreements with FXS and to purchase bus-camera equipment.

8. To disguise the illegal purpose of the payments, Leonard funneled most of
the bribe and kickback payments through shell entities controlled by his business
associate, Swartwood, including ELF Investments.

9, Leonard also funneled approximately $800,000 to Sorrells through a law
firm and paid over $200,000 toward Sorrells’s credit card and student loan debt through a

bank account opened in the name of a nonexistent entity.

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10. To further mask the illegal purpose of these payments, the coconspirators
originally characterized the payments as “consulting” but later attempted to recast the
payments as a loan. Sorrells provided no legitimate consulting services in exchange for
the payments and the “loan” was fake.

11. Person C served as a Council Member on the Dallas City Council from
before the beginning of the conspiracy until June 2015, and upon reelection thereafter in
May 2017 to the present. Person C was a public servant as a result of his/her position.

12. During the conspiracy, Leonard provided Person C over $450,000 in bribe
and kickback payments/benefits* in exchange for favorable official action, or the promise
of favorable official action, related to FXS’s business interests and Leonard’s aspirations
of developing low income housing in Dallas.

13. The bribe and kickback payments/benefits took the form of thousands of
dollars of personal or FXS.checks which Leonard later learned Person C cashed at liquor
stores or a pawn shop; approximately $390,000 funneled to Person C through ELF
Investments under the guise of real estate consulting; fully funded trips to New Orleans,
Austin, and Las Vegas; custom made suits; security cameras for Person C’s home; a
campaign bus; a fake loan for Person C’s father’s home; funeral expenses for Person C’s
father; routine cash payments of approximately $1000 to $2000; tires for Person C’s car;

casino chips; and gambling money for the horse track.

3 Leonard also directly or indirectly made approximately $45,000 in campaign contributions to Person C
during the conspiracy. °

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14. _ Every dollar that Leonard paid Person C was a bribe to secure Person C’s
support as a Council Member of FXS’s stop-arm program and Leonard’s real estate
plans.

15. FXS’s stop-arm program was not viable absent an ordinance making
passing a raised stop-arm camera a fineable offense.

16. FXS presented the stop-arm program to the City of Dallas. Contrary to

‘Leonard’s proposal, the City Manager recommended that the proposed fine be reduced .
- from $300 to $80, an amount which would have undermined the economic viability of
the program.

17. Person C warned Leonard about the changes to FXS’s proposal.
Thereafter, Person C told Leonard that he/she supported the stop-arm program and asked .

‘Leonard to make a contribution to Person C’s spouse’s political campaign, which
Leonard did.

18. The contribution was a bribe. Leonard knew nothing about Person C’s
spouse’s campaign and had no interest in it. Leonard paid Person C only because he
expected Person C’s support on the City Council regarding the stop-arm program, and
person C was fully aware of this quid pro quo.

19. On May 23, 2012, Person C voted in favor of an ordinance creating a civil
offense and a penalty consistent with Leonard’s original proposal for unlawfully passing

a stopped school bus with a stop-arm extended.

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20. Days later, Person C told Leonard that he/she had supported the stop-arm
program and wanted Leonard’s support. Leonard gave Person C a check for $5,000, with
the byline “Loan,” which Leonard later learned Person C cashed at a liquor store.

21. Thereafter, Person C told Leonard that he/she needed more money to live.
Leonard began paying Person C bribes and kickbacks through ELF Investments under the
guise of a “real estate consultancy,” even though Person C did not appear to have any
expertise or experience in developing real estate.

22. Every payment that Person C received from Leonard through ELF
Investments was a bribe to secure Person C’s continued support of the stop-arm program
and influence on the City Council related to Leonard’ s plans to develop real estate in
South Dallas, including powers of eminent domain, the first seat at the table when

opportunities arose, government financing, and any and all City Council action that
became necessary to forward Leonard’s attempts to develop low income housing.

23. Almost immediately after Person C’s “real estate consultancy” was
terminated, and the payments had ceased, the coconspirators attempted to recast a
substantial portion of the bribe and kickback payments that Person C had already
received as a “loan.”

24. During the conspiracy, Person C would ask Leonard for money on a nearly
weekly basis; Leonard never offered to make a payment unsolicited. Person C would
make statements like, “I want to gamble but I don’t have any money right now,” or “I
don't have any dough right now,” or “my car is broken.” Leonard never turned down

Person C’s requests for payments.

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25.  Onthose occasions when Leonard would make a payment to Person C by
check, Person C would tell him whom to make the check to.

26. It was clear that Person C was soliciting bribe and kickback payments from
Leonard through his/her constant requests for money and other benefits. Person C would
always remind Leonard of what he/she had done for FXS before asking for something.
Person C constantly told Leonard. that he/she supported him in anything he did and
wanted to help him anyway he/she could, which was a clear reference to the stop-arm
program and Leonard’s real estate aspirations. Person C made his/her intent to be
influenced clear by telling Leonard things like, “I am the City Council.”

27. Leonard continued to pay bribes and kickbacks to Person C throughout the

- conspiracy because he expected Person C to remain in office and be in a position to use
his/her official position to help Leonard. Leonard was not confident that Person C would
have supported the stop-arm program and his other business interests absent bribe and
kickback payments because, based on Leonard’s experience, Person C did not do

- anything unless he/she got paid. Leonard expected Person C's unconditional support in .
exchange for the stream of benefits Person C received. If Person C would have opposed
Leonard’s efforts, or voted “No” on anything related to the stop-arm program, Leonard
would have immediately stopped paying Person C.

28. In addition to voting for the civil penalty and fine and the promise of
support for Leonard’s real estate plans, Person C also voted and advocated vigorously for
a 2015 City Council motion which renewed the interlocal agreement with DCS to

administer and enforce the stop-arm program for an additional twenty-five years, and, on

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another occasion, Person C pressured the Dallas City. Attorney’s Office to project a
favorable view of the program to another Texas municipality.

29. The defendant agrees that the defendant committed all the essential
elements of the offense(s). This factual resume is not intended to be a complete
accounting of all the facts and events related to the offense charged in this case. The
limited purpose of this statement of facts is to demonstrate that a factual basis exists to

support the defendant’s guilty plea to Count(s) One of the Information.

AGREED TO AND STIPULATED on this 4 day of { / [ Q , 201.

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